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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

                                      PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &                    CIVIL ACTION NO. 6:22-cv-00885-RRS-CBW
   PREVENTION; et al.,

                                   DEFENDANTS.


                   PLAINTIFF STATES’ REPLY IN SUPPORT OF
             THEIR MOTION FOR A TEMPORARY RESTRAINING ORDER
                AND TO COMPEL PRODUCTION OF INFORMATION
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                                            INTRODUCTION

          DHS1 now admits that it has begun implementing the Title 42 Termination Order prematurely.

  Its own declarant concedes: DHS “has begun in recent weeks [i.e., post-April-1-Termination Order] to

  increase the use of expedited removal for some single adults eligible for removal who would otherwise be

  expelled pursuant to Title 42.” Nuñez-Neto Decl. ¶16 (Doc. 27-1) (emphasis added). DHS’s brief similarly

  admits (at 2) that it “recent[ly] increased use of expedited removal for noncitizens from the Northern

  Triangle countries is in preparation for the full resumption of Title 8 immigration processing”—i.e.,

  partially ended implementation of Title 42 in advance of its formal expiration date. Thus, contrary to

  DHS’s suggestion (at 16) that the States’ TRO rests on “rank speculation,” the States’ evidence is now

  supported by DHS’s own confession. There is nothing speculative about what DHS now admits it is doing.

          That DHS felt it must act in secret belies its attempt to portray its changed policy as “nothing

  to see here.” DHS had full knowledge that (1) Plaintiff States were challenging the Title 42 Termination

  and actively seeking a preliminary injunction against it before it took effect and (2) that Plaintiffs and

  this Court (and the public) believed—wrongly—that the Termination Order would not start to be

  implemented until it became legally effective on May 23.

          So DHS knew the Plaintiff States would be concerned with early partial termination. But DHS

  nonetheless chose to conceal its actions from the States and this Court, and Plaintiffs only learned of

  them through leaks to the media—which DHS surely never intended to occur. Instead, by all

  indications, DHS did not mean for this Court to learn of its furtive early termination ever, and it thus

  would evade judicial review entirely by the expedient of secrecy precluding judicial scrutiny. These

  simply are not the actions of an agency that considers its conduct to be completely above board.

          DHS’s “defense” appears to consist partly of arguing that things could be worse. DHS


  1
    For ease of reference, “DHS,” “CDC,” and “Federal Defendants” are used interchangeably herein
  to refer to all Defendants except where context indicates otherwise.

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  contends (at 17) for example, that only of those processed through its illegally early termination, “only

  12 percent are found to have a credible fear and are referred for removal proceedings”—i.e., brought

  in the U.S. rather than being returned across the border as Title 42 demands. But the APA has no “we

  could have acted even more unlawfully” exception. That DHS’s clandestine actions might have been

  even more flagrantly illegal is hardly the persuasive defense that DHS believes it to be.

          Undoubtedly recognizing the indefensibility of its actions—and that its best defense: i.e.,

  concealment, has now failed—DHS predictably relies upon DOJ to unleash an avalanche of

  procedural objections designed to prevent this Court from recognizing the flagrant illegality of its

  actions. But each of those arguments fail. Indeed, some are so clearly barred by controlling Fifth

  Circuit precedent as flirt with the bounds of fair argument. In particular, Defendants’ abject and

  pervasive refusal to address Texas v. Biden, 20 F.4th 928 (5th Cir. 2021) cert. granted 142 S. Ct. 1098

  (2022)—which squarely precludes most of the arguments they now advance—is incorrigible.

          As to the merits of the States’ actual APA claims, Defendants have precious little to say, most

  of which contravenes controlling-but-ignored precedent. The States are thus likely to prevail on all of

  those claims, any one of which would suffice. In addition, all of the remaining requirements for a TRO

  are all met here. And a TRO is particularly warranted to preserve the status quo, which DHS’s early

  termination of Title 42 has unlawfully disrupted. Because Defendants’ month-early implementation

  of the Title 42 Termination Order inflicts irreparable injury now, this Court should issue a TRO to

  prevent such harms from occurring while it resolves the States’ motion for a preliminary injunction.

  I.      This Court Has Jurisdiction To Grant The States’ TRO Request
          Understandably seeking to avoid any judicial scrutiny of its hitherto secret actions, DHS

  predictably raises a flurry of jurisdictional arguments. But the Fifth Circuit has already had extensive

  experience with this same worn-out playbook and rejected all of the arguments advanced here.




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          A.      The States’ Have Article III Standing
          DHS raises a skeletal, one-sentence/single-cite argument (at 13) that the States lack standing,

  citing only to a Sixth Circuit stay decision. But, apparently forgetting where this Court sits, DHS ignores

  the Fifth Circuit merits decision making that contention specious: Texas v. Biden. Indeed, those standing

  arguments that DHS advanced in that case are so patently baseless that Federal Defendants refused to

  raise them in the Supreme Court, either in its petition for certiorari or merits briefs—as the States

  specifically noted (PI Mem. (Doc. 13-1) at 12)), which DHS now ignores. The U.S. Solicitor General’s

  Office thus recognizes how untenable those standing arguments are. This Court should too.

          Specifically, the Fifth Circuit has expressly recognized that increased crossings of migrants

  illegally entering the United States inexorably leads to increased costs by the States: “if the total number

  of in-State aliens increases, the States will spend more on healthcare” inter alia. Texas v. Biden, 20 F.4th

  at 969 (emphasis added)); accord PI Mem. at 12. The Fifth Circuit further explained that these

  challenges are “precisely the sort of large-scale polic[ies] that [are] amenable to challenge using large-

  scale statistics and figures, rather than highly specific individualized documents. And [the State’s]

  standing is robustly supported by just such big-picture evidence.” Id. at 971 (emphasis added).

          The States’ standing here is similarly supported by just those sorts of “large-scale statistics.”

  Id. Indeed, immigration statistics rarely come larger: even by Defendants’ own projections, the

  Termination Order could single-handedly almost triple the number of migrants illegally entering the

  United States to 18,000 per day and result in 500,000 illegal crossings in the first month it is fully in

  effect. PI Mem. at 1, 10-11. Although the TRO addresses only a partial implementation of the Title

  42 Termination, even a small fraction of those historically unprecedented numbers readily establishes

  standing. Indeed, even “only a dollar or two” of injury satisfies Article III. Sprint Commc’ns Co., L.P. v.

  APCC Servs., Inc., 554 U.S. 269, 289 (2008). And DHS here notably admits that its actions are increasing

  the “total number of in-State aliens,” Texas v. Biden, 20 F.4th at 969—which the Fifth Circuit


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  recognized establishes standing. DHS’s protests (at 1) that the numbers involved are (at least)

  “relatively small” thus admit the existence of the States’ injury-in-fact rather than disproving it.

          B.       Controlling Fifth Circuit Refutes DHS’s Section 1252 Jurisdictional Arguments
          Just as in Texas v. Biden, DHS here “halfheartedly suggests that the INA is a statute that

  precludes judicial review” citing—just like here—8 U.S.C. §1252. 20 F.4th at 976 (cleaned up). DHS

  notably lost this argument unequivocally in the Fifth Circuit. Its recycling of that argument—without

  ever acknowledging its prior loss on this precise issue under binding precedent—is shameless.

          By its terms, the jurisdiction limiting language of that provision apply only to individual

  decisions to release noncitizens on parole. See, e.g. 8 U.S.C. §1252(a)(2)(A)(i), (iii) (referring to

  “individual determination[s]” and “individual aliens” (emphasis added)). Plaintiffs do not challenge any

  individual enforcement decision, but rather Defendants’ programmatic shift to begin implementing

  the Termination Order early.

          For that reason, the Fifth Circuit rejected this now-regurgitated Section 1252 argument,

  holding that the provision “applies to removal decisions affecting individual aliens and not broad

  programmatic decisions” because “the entirety of the text and structure of §1252 indicates that it operates

  only on denials of relief for individual aliens.” Texas v. Biden, 20 F.4th at 976–78 & n.11 (emphasis

  added). See also Regents of the Univ. of Cal. v. DHS, 908 F.3d 476, 503 (9th Cir. 2018), rev’d in part on other

  grounds, 140 S. Ct. 1891 (2020) (holding that under §1252 parties can challenge “programmatic shift[s]”

  in immigration enforcement even if they could not challenge “individual ... decisions”); Texas v. United

  States, 809 F.3d 134, 164–65 (5th Cir. 2015) (rejecting federal government’s §1252 argument in state

  challenge to DHS’s DAPA program); Texas v. United States, 524 F. Supp. 3d 598, 641–42 (S.D. Tex.

  2021) (rejecting DHS constellation of jurisdiction stripping arguments, including one under §1252,

  and holding that those “provisions concern limits to potential suits brought by aliens themselves” and

  not to challenging “challenging DHS’s decision to blanket pause the removal of thousands of aliens”).


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          This is precisely what Plaintiffs’ TRO asserts: a challenge to Defendants’ programmatic shift

  in immigration enforcement.2 Indeed, that systematic shift is conceded, with DHS admitting (at 1) that

  it is has “recently increased its use of expedited removal under Title 8” rather than using Title 42.

          DHS could not possibly have been unaware of the Texas v. Biden decision—it is both cited

  extensively in the States’ PI brief (at 2, 12, 27, 31, 33, 39, 40) and is being argued in the Supreme Court

  tomorrow.3 And if DHS had any persuasive response to that dispositive decision, it would have raised

  it here. Instead, DHS brazenly ignores that controlling precedent in the hope that this Court will too.

          C.      Defendants’ Programmatic Decision To Begin Partial Implementation Of The
                  Termination Order Is Final Agency Action Challengeable Under The APA
          Defendants concede that “DHS has begun in recent weeks to increase the use of expedited

  removal for some single adults ... who would otherwise be expelled pursuant to Title 42.” Nuñez-

  Neto Decl. ¶ 16. And that clear concession directly implies a centralized decision by DHS, which DHS

  tellingly does not deny. DHS nevertheless contend that its actions are not final agency action. Not so.

          Once again, DHS ignores Texas v. Biden. As here, the challenged decision “altered that status

  quo and caused DHS to return fewer aliens,” thus rendering the policy reviewable under the APA as

  final agency action. 20 F.4th at 948. Those intentional non-returns both represent the culmination of

  DHS’s decision-making and have obvious real-world legal consequences (i.e., being allowed into the




  2
     The requirement of Section 1252(e)(3) that certain challenges be brought in the DDC does not
  apply because this suit is not the type of action covered by the statute—Plaintiff’s claims are related
  to Title 42 Order and do not challenge any specific “determinations under section 1225(b)” or DHS’s
  implementation of Section 1252. See, e.g., East Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 666 (9th
  Cir. 2021). Instead, they challenge DHS’s unlawful early implementation of the Title 42 Order. Nor
  do the States ask this Court to enjoin the operation of the INA, but rather to restrain the Defendants
  from taking unlawful actions to implement that illegal Order.
  3
    DHS did not advance any of the instant jurisdictional arguments raised here before the Supreme
  Court, although it did in the Fifth Circuit and district court and lost on all of them. The agency could
  have renewed them in the Supreme Court but did not. That presumably is because the U.S. Solicitor
  General is apparently unwilling to make them. Supra at 3. But DHS lacks similar restraint here, even
  though this Court (unlike the Supreme Court) is squarely bound by Fifth Circuit precedent.

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   U.S. or not). Id. at 948-49. DHS offers no argument that its early partial termination could be anything

   other than final agency action under Texas v. Biden.

           Texas v. Biden is hardly an outlier though. Although discrete exercises of enforcement discretion

   vis-à-vis particular individuals may not constitute final agency actions, broad enforcement policies and

   practices are reviewable final actions. Federal courts have routinely recognized as much. See, e.g., Texas

   v. United States, 524 F. Supp. 3d at 642-43 (100-day pause of deportations is final agency action).4

           The final agency action inquiry is pragmatic. That Defendants may or may not have committed

   their admitted policy to writing does not insulate it from judicial review.5 That said, DHS tellingly


   4
      Accord Velesaca v. Decker, 458 F. Supp. 3d 224, 240 (S.D.N.Y. 2020) (no-release policy is final agency
   action); Amadei v. Nielsen, 348 F. Supp. 3d 145, 164 (E.D.N.Y. 2018) (“policy or routine practice of
   CBP conducting identification searches of disembarking domestic airline passengers” constitutes final
   agency action); see also Ensco Offshore Co. v. Salazar, 781 F. Supp. 2d 332, 334, 336 (E.D. La. 2011)
   (“blanket moratorium on deepwater drilling in the Gulf of Mexico” is a “final agency action”);
   Environment Def. Ctr. v. BOEM, 2018 WL 5919096, at *5 (C.D. Cal. Nov. 9, 2018) (NEPA document
   that “effectively lift[ed] [a] moratorium” constitutes final agency action); Dunn McCampbell Royalty Int.,
   Inc. v. NPS, 2007 WL 1032346, at *5 (S.D. Tex. Mar. 31, 2007) (“Plan ‘effectively clos[ing]’ ... areas to
   drilling operations, does constitute ‘final agency action.’”); Western Energy All. v. Jewell, 2017 WL
   3600740, at *14 (D.N.M. Jan. 13, 2017); Venetian Casino Resort, L.L.C. v. EEOC, 530 F.3d 925, 931
   (D.C. Cir. 2008) (“adopting a policy of permitting employees to disclose confidential information
   without notice is surely” final agency action).
   5
      See Whitman v. Am. Trucking Associations, 531 U.S. 457, 479 (2001) (“Though the agency has not
   dressed its decision with the conventional procedural accoutrements of finality, its own behavior thus
   belies the claim that its interpretation is not final.”); see also Gomez v. Trump, 485 F. Supp. 3d 145, 193
   (D.D.C. 2020) (“cluster of guidance documents, cables, and directives, have ordered consular offices
   and embassies to cease processing and issuing visas for otherwise qualified applicants” constitutes
   final agency action). Rather, the final agency-action inquiry is pragmatic and elevates substance over
   form. Qureshi v. Holder, 663 F.3d 778, 781 (5th Cir. 2011) (“The Supreme Court’s interpretation of the
   APA’s finality requirement is ‘flexible’ and ‘pragmatic.’” (citation omitted)); see also BNSF Ry. Co. v.
   EEOC, 385 F. Supp. 3d 512, 522 (N.D. Tex. 2018) (“Buoying this pragmatic framework is an
   increasing hesitance by the Supreme Court and lower courts alike to shelter agencies from judicial
   enforcement of congressional mandates.”). Courts have thus consistently found that unwritten but
   clear and discrete policies constitute final agency action regardless of whether it is committed to a
   formal writing or published in the Federal Register. See Brotherhood. of Locomotive Engineers & Trainmen
   v. FRRA, 972 F.3d 83, 100 (D.C. Cir. 2020) (collecting cases holding that “[a]gency action generally
   need not be committed to writing to be final and judicially reviewable”); see also Rosa v. McAleenan, 2019
   WL 5191095, at *19 (S.D. Tex. Oct. 15, 2019) (same); Velesaca, 458 F. Supp. 3d at 237 n.7 (“[A] number
   of cases have involved courts inferring from a course of agency conduct that the agency has adopted
   a general policy, even in the face of agency denials of such policies existing.”). Finality is a pragmatic
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   neither denies the existence of a written policy or guidance documents nor provides copies of them.

   Such continued evasiveness does not preclude judicial review, however—particularly as DHS has

   squarely admitted the existence of the policy being challenged, whether written or not.

           D.      DHS’s Remaining Throwaway Arguments Are Both Waived And Meritless
           DHS also appears to advance three other skeletal jurisdictional arguments (at 13), though in

   each is in undeveloped, single-sentence form. It is doubtful this suffices to preserve them for decision.

   See, e.g., Trevino v. Johnson, 168 F.3d 173, 181 n.3 (5th Cir. 1999) (holding that “undeveloped” and

   “inadequately argued” issues are waived). Indeed, DHS’s approach calls to mind the discredited

   “’spaghetti approach,’” with DHS having “heaved the entire contents of a pot against the wall in hopes

   that something would stick.” Independent Towers of Washington v. Washington, 350 F.3d 925, 929 (9th Cir.

   2003). This Court should “decline … to sort through the noodles.” Id.

           But even if they are not waived, they can be readily dispensed with under controlling

   precedent, which DHS pervasively ignores. Indeed, it is notable that in virtually every case the Fifth

   Circuit has not only rejected the very same argument by DHS, but further specifically cited and

   distinguished the very same precedents DHS now cites to.

           Cognizable Interest. DHS’s contention (at 13) that “third parties have no legally cognizable

   interest in enforcement of the laws against others, including under the INA” is squarely refuted by

   both Texas v. Biden and Texas v. United States (the DAPA case), both of which recognized just such

   cognizable interests. See Texas v. Biden, 20 F.4th at 990 (squarely rejecting DHS’s argument “that the

   States lack ‘any cognizable reliance interests in MPP’”); Texas v. United States, 809 F.3d at 154 (rejecting

   DHS’s argument that “a plaintiff lacks standing to challenge decisions … not to prosecute, a third


   test precisely so the Executive Branch cannot circumvent APA review the way Defendants are
   attempting to do here. See BNSF Ry. Co., 385 F. Supp. 3d at 523 (“An agency cannot skirt its obligations
   by acting illegally and then claiming it has not acted at all.”); Al Otro Lado, Inc. v. McAleenan, 394 F.
   Supp. 3d 1168, 1206–07 (S.D. Cal. 2019) (“[A] contrary rule ‘would allow an agency to shield its
   decisions from judicial review simply by refusing to put those decisions in writing.’”).

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   party” which, as here, DHS premised on Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973)).

           Zone of Interest. Federal courts have long-recognized that States have “quasi-sovereign

   interest[s] in the health and well-being—both physical and economic—of [their] residents.” Alfred L.

   Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 607-08 (1982). Federal Defendants’ cursory

   contention (at 13) that the States “are outside Section 265’s zone of interests”—i.e., that the States

   have no legitimate interest in the public health of their citizens, which is the applicable “zone of

   interest” for Section 265—is thus specious. Indeed, it violates the most fundamental and elementary

   principles of federalism, under which the Federal Government is not the sole sovereign responsible

   for public health. In any event, the zone-of-interest test is “not ... especially demanding,” with the

   “benefit of any doubt goes to the plaintiff.” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v.

   Patchak, 567 U.S. 209, 224-25 (2012). The States’ long-recognized interest in the health of their citizens

   thus easily suffices. And to the extent that DHS might be arguing that the States’ interests in

   immigration enforcement lie outside of the relevant zone of interests, that too is precluded by Texas

   v. Biden. 20 F.4th at 975-76 (rejecting DHS’s zone of interest contentions).

           Committed to Agency Discretion. Citing Ellison v. Connor, 153 F.3d 247, 253 (5th Cir. 1998),

   Federal Defendants argue that “the CDC Director’s decisions under Section 265 are ‘committed to

   the agency’s discretion by law’ and therefore are not reviewable under the APA.” Opp at 13 (cleaned

   up). As an initial matter, that premise has little relevance in the context of the instant TRO request,

   which challenges DHS’s early implementation of the Termination Order, rather than any discretionary

   decision by CDC. But that argument fails more globally too.

           With apologies for the broken-record repetition, Texas v. Biden again rejects that argument. As

   that case explains, Ellison “appl[ied] Heckler[’s non-reviewability presumption] to an agency’s decision

   not to issue an individual permit.” 20 F.4th at 984 (emphasis added). The Heckler presumption does not

   apply here where the States challenge an admitted policy (whether of CDC’s or DHS’s), rather than


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   any individual enforcement decisions. Indeed, the Fifth Circuit has held outright that “Heckler cannot

   apply to agency actions that qualify as rules under 5 U.S.C. § 551(4).” Id. And here there can be no

   doubt that the Termination Order is a “rule” under the APA.

           Moreover, “an agency’s adoption of a general enforcement policy is subject to review,” which

   is precisely what DHS’s admitted premature implementation is. OSG Bulk Ships, Inc. v. United States,

   132 F.3d 808, 812 (D.C. Cir. 1998) (distinguishing Heckler’s presumption of unreviewability as applying

   only to individual cases of non-enforcement). Furthermore, a subject is not committed to agency

   discretion if there is a “meaningful standard against which to judge the agency’s exercise of

   discretion.’” Lincoln v. Vigil, 508 U.S. 182, 191 (1993). Here there is just such a standard: the May 23

   effective date marks the boundary between lawful and unlawful implementation of it.

   II.     The States Are Likely To Prevail On The Merits Of Their TRO Claim
           Once their predictable deluge of baseless jurisdictional objections are properly set aside,

   precious little remains of Defendants’ opposition. They barely address the merits of the States’ APA

   claims, preferring instead to pretend that they were not pled. They were. DHS similarly offers no

   meaningful response to its binding statutory duty under 42 U.S.C. § 268. And DHS’s suggestion that

   its partial early termination is in fact consistent with those orders is simply unserious.

           A.      Plaintiffs Are Likely To Prevail On Their APA Claims
           CDC offers two pages (at 13-15) of perfunctory denials in response to the State’s APA claims.

   See PI Mem. at 18-40. What little argument Defendants offer makes plain that the States are likely to

   prevail on all of their APA claims—any one of which would suffice to obtain a TRO or PI.

                   1.      Notice And Comment Claim
           Foreign Affairs Exception. Defendants’ “foreign affairs” exception argument can be readily

   dispensed with. CDC simply offers no response whatsoever to all applicable case law expressly requiring

   the Rule to identify actual international consequences for the exception to apply, rather than the mere

   existence of international discussions. See PI Mem. at 24-25 (citing five such cases). But rather than
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   identifying a single such consequence, CDC simply reiterates (at 14) the Rule’s observation that

   unspecified discussions are ongoing with other countries. That does not suffice—which CDC’s

   conspicuous failure to cite even a single case underscores.

           Good Cause Exception. CDC’s “good cause” argument is somewhat better developed, but

   equally infirm. Most importantly, CDC ignores entirely Executive Order 14,010, which mandated in

   February 2021 that CDC begin considering terminating Title 42. PI Mem. at 8, 20-21. CDC thus had

   fourteen months—ample time—to comply with notice-and-comment procedures. And whether notice

   and comment “could have been run in the time taken to issue the [challenged] rule” is a central consideration

   in the Fifth Circuit. United States v. Johnson, 632 F.3d 912, 929 (5th Cir. 2011) (emphasis added). But

   CDC ignores both Johnson and the applicable 14-month period entirely. CDC similarly ignores entirely

   its own use of notice-and-commend procedures when promulgating the initial Title 42 system. PI

   Mem. at 21-22. And CDC further ignores that the effect of its Termination Order is to inflict an

   emergency rather than prevent one. PI Mem. at 23.

           Each one of these three complete non-responses is singularly fatal to CDC’s “good cause”

   rationale here. Moreover, CDC’s failure to engage with other applicable case law: e.g., BST Holdings,

   L.L.C. v. OSHA, 17 F.4th 604, 611 (5th Cir. 2021) and this Court’s decision in Louisiana v. Becerra, __

   F. Supp. 3d __, 2022 WL 16571 (W.D. La. January 1, 2022), which Defendants tellingly did not even

   bother to appeal—also underscores the weakness of their good cause arguments.

           What little reasoning that CDC does offer (at 13-14) ignores the obvious distinction between

   short-term actions—which by their nature often preclude notice-and-comment—with permanent actions,

   whose permanency typically provides sufficient time. Thus, 30- or 60-day extensions are

   fundamentally different in character that permanent revocation of Title 42, particularly where Title 42’s

   operation over two years means that the effects of its termination are now calamitous—as which is

   now widely acknowledged, even from the Administration’s supporters. See PI Mem. at 1-2.


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           Nor does CDC’s Director having “already determined, in her expert judgment, that a

   suspension of entry is no longer necessary” (Opp. at 14) constitute “good cause.” The APA’s central

   premise is that such final determinations can typically be made only after receiving public comment.

   That Director Walensky purportedly has an incurably closed mind, unsusceptible to any comments

   she might have received, is not “good cause” under the APA—though it is strong evidence of arbitrary

   and capricious decision-making. And CDC offers no reasoning why it could delay the Order’s effective

   date only 7 weeks to allow for DHS to plan for termination—with even Secretary Mayorkas now

   apparently telling members of Congress privately that such planning is presently inadequate to address

   the coming calamity6—but not long enough to take public comments. See PI Mem. at 23-24.

                   2.      Arbitrary And Capricious Claim.
           Impacts on States. At the outset, CDC’s contention (at 15) that it “CDC did consider States’

   reliance interests,” can be rejected out of hand. CDC did no such thing: repeatedly disclaiming any

   obligation to do so. CDC only “considered” impacts to States insofar as it decided not to analyze them

   at all because it deemed them illegitimate (an independent legal error). Similarly, CDC’s apparent

   contention (at 15) that it necessarily considered them because it offered a conclusory statement that

   all countervailing interests were outweighed fails, once again, under Texas v. Biden: merely “stating that

   a factor was considered ... is not a substitute for considering it.” 20 F. 4th at 993 (cleaned up).

           Costs To States As Important Consideration. CDC makes no attempt to address the States’

   argument (PI Mem. at 27-28) that, irrespective of any purported illegitimacy of the States’ reliance

   interests, that costs to the States were an “important aspect of the problem” that CDC was required

   to consider under the APA—but didn’t. At all. That alone renders the Order arbitrary and capricious.

           States’ Reliance Interests. CDC’s contention (at 15) that the States’ reliance interests were



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      See Alayne Treene, Aixos, Scoop: DHS chief concerned about lifting Title 42 (Apr. 21, 2022) available at
   https://bit.ly/37y0KJL
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   illegitimate/disregardable as “misplaced because Title 42 orders were by their terms temporary

   measures” directly violates Texas v. Biden. Again. Which CDC ignores completely. Also again.

           As the States explained, the Supreme Court’s decision in Regents squarely rejects the premise

   that cognizable reliance interests cannot exist in temporary programs. PI Mem. at 29-30. Regents alone

   should be dispositive here (and CDC ignores Regents completely as well). But Texas v. Biden puts an

   exclamation point on Regents. Federal Defendants’ argument in Texas v. Biden—exactly as here—was

   that it “had no obligation to consider the States' reliance interests at all.” 20 F.4th at 553. The Fifth

   Circuit’s response was merciless: that “contention is squarely foreclosed by Regents” and it was

   “astonishing[]” that DHS made it at all. Id. CDC recycling that argument here after both Regents and

   Texas v. Biden—while neither acknowledging nor distinguishing either—is unbecoming.

           Failure To Consider Immigration Consequences Generally. CDC does not deny that it

   considered immigration consequences in setting the May 23 effective date of the Order. PI Mem. at

   34-36. That concession squarely refuses CDC’s argument (at 15) that “impacts of immigration on the

   States simply are not relevant factors.” CDC has no statutory authority to distinguish between

   immigration-related impacts to the federal government (purportedly proper considerations) and those

   to the States (putative “not relevant factors”). And even as to the federal government, all CDC says is

   that its Order is “replete with references to the resumption of … regular immigration processing.” TRO

   Opp. at 15 (emphasis added). But the APA demands more than CDC merely “referencing” the actual

   problem—the agency actually has to analyze it meaningfully and provide a reasoned explanation of its

   resulting decision in light of that analysis. CDC does not even allege that it did anything of the sort.

           Ultimately, either CDC has authority to consider immigration consequences or it doesn’t. If it

   does not, the Order is arbitrary and capricious because it sets an effective date based on something

   CDC lacks authority to consider. If CDC does have such authority, it violated the APA by ignoring

   immigration consequences to the States. Because CDC’s rationale is palpably at war with itself, it


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   cannot satisfy the APA.

           Failure To Consider Public Health Consequences Of Immigration Effects. Moreover,

   even if CDC lacked authority to consider immigration consequences generally, it at least had to

   consider the resulting public health consequences of that immigration. As explained previously, “It

   strains credulity to imagine that CDC could even screen that number of migrants [up to 18,000 per

   day] for communicable diseases (including Covid-19) [and] CDC certainly never indicates otherwise.”

   PI Mem. at 36-37. CDC offers no response at all, thereby conceding CDC’s Termination Order is

   arbitrary and capricious as it failed to consider this essential issue.

           B.      DHS’s Contention That The States’ TRO Motion Is Unpled Is Unserious
           DHS’s contention that the TRO asserts claims that are unpled is similarly unavailing. DHS

   does not bother to deny that it has already begun implementing the Termination Order in advance of

   its actually becoming effective. Indeed, DHS admits as much. Supra at 1.

           Plaintiff States’ complaint uncontestably challenges the legality of that Termination Order. To

   the extent that the Order is unlawful, any actions by DHS to implement it are necessarily unlawful

   too. DHS has no lawful authority to implement illegal orders, whether partially or completely. And

   that is precisely what the States have pled.

           More fundamentally, DHS’s argument is premised on facile formalism. Of course the States’

   complaint did not challenge specifically DHS’s actions that, until a few days ago, were intentionally

   hidden from them and the outside world (but now admitted). But the States have more than adequately

   pled a challenge to any implementation of the Termination Order since they have pled that the Order

   is illegal in its entirety. Rule 8 requires no more under its notice pleading standard.

           C.      DHS Offers No Response To The States’ Statutory Argument That It Is
                   Violating Section 268
           As explained in the States’ TRO motion, Section 268 establishes a mandatory duty for DHS

   to enforce the Title 42 Orders while they are in effect. TRO Br. at 4. That is underscored by the use

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   of the mandatory “shall” preceding “aid.” 42 U.S.C. §268; see, e.g., Gutierrez de Martinez v. Lamagno, 515

   U.S. 417, 434 n.9 (1995) (recognizing that “‘shall’ generally means ‘must’” in statutory language).

           DHS offers no specific response to this argument, thus conceding that the statutory text

   creates a mandatory duty generally. With respect to that provision, all that DHS does contend (at 14)

   is that under “§ 268, [it] should not be expected to be able to change its operations overnight.”

           That is a non-sequitur. The States have never argued that CDC could not implement the

   Termination Order on an incremental basis after it becomes legally effective on May 23 (if not enjoined or

   vacated by then). DHS thus need not turn on a dime on that day, but could instead begin implementing

   the Termination Order gradually then. But what DHS cannot do is intentionally sabotage its

   enforcement of Title 42 Orders while they are still in effect. And that is what DHS concedes it is doing

   here. DHS cannot plausibly claim to be discharging its mandatory duty to “aid … enforcement” of

   the Title 42 Orders by partially refusing to enforce them.

           DHS’s admitted violation of its concededly mandatory duties under Section 268 thus amply

   warranted relief by TRO.

           D.      DHS’s Early Termination Is Not Consistent With The August Title 42 Order
           Finally, Defendants point to language in the August 2021 Title 42 Order that provides an

   exception for “[p]ersons whom customs officers determine, with approval from a supervisor, should be

   excepted from this Order based on the totality of the circumstances, including consideration of

   significant law enforcement, officer and public safety, humanitarian, and public health interests.” Opp.

   at 11 (quoting 86 Fed. Reg. 42,828, 42,841 (August 5, 2021)) (emphasis added). That command is

   necessarily bottom-up: an individual customs officer may recommend an exception based upon an

   individual alien’s specific circumstances. But that is simply not what DHS is plausibly doing here.

   Moreover, nothing in the August Order suggests that DHS has authority to implement an illegal

   termination order early, which is precisely what the States allege (and have now established) here.


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           Defendants further acknowledge CDC’s stated “expectation that DHS will continue to apply

   exceptions outlined in the August Order to covered noncitizens as appropriate, including the

   exception based on the totality of an individual’s circumstances on a case-by-case basis.” Nuñez-Neto

   Decl. ¶3 (quoting Termination Order) (emphasis added). But Defendants then confirm they have

   changed how exceptions are handled: “DHS has begun in recent weeks to increase the use of expedited

   removal for some single adults ... who would otherwise be expelled pursuant to Title 42.” Id. ¶ 16.

           There is thus every indication is that change was the result of top-down, programmatic action,

   not a shift by line officers suddenly all exercising case-by-case discretion in exactly the same manner, but

   only as to the exact same countries. Indeed, it is powerful evidence that the Border Patrol Union felt the

   need to publicize DHS’s actions, make clear that the Biden Administration is effectively ending Title

   42 prematurely, and inform the Plaintiff States of the “huge backlog” that resulted in “pulling more

   agents out of the field,” St. John Decl. (Dkt. 24-3) ¶¶2–4, 6–7 (emphasis added).

           Defendants’ suggestion that they are merely engaging in purportedly uncoordinated case-by-

   case decisions is thus both implausible and contrary to their own admissions. Accepting that this state

   of affairs is nothing more than the product of miraculously coinciding case-by-case determinations,

   all suddenly aligned in one direction, would require this Court to “exhibit a naiveté from which

   ordinary citizens are free.’” Dep’t of Com. v. New York, 139 S. Ct. 2551, 2575 (2019) (citation omitted).

   III.    DHS Offers No Genuine Response To The States’ Motion To Compel Information
           DHS barely offers any particular response to the State’s motion to compel production of

   information, largely (at 16) relying on its other arguments in opposition to a TRO. That does not

   suffice for all of the reasons explained above.

           The States admit that, in light of DHS’s admissions that DHS performed the very conduct the

   States feared, there is a somewhat diminished need for a precise accounting of DHS’s actions. But

   only somewhat. DHS continues to deny the existence of irreparable harm—and indeed bizarrely


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   castigating (at 17) the States as relying on “rank speculation,” as if its own admissions were not

   powerful evidence that the States’ arguments were “non-speculative.” TRO Opp. at 1. That is

   tantamount to gaslighting. But it underscores the need for DHS to disclose additional information.

           More generally, given DHS’s outrageous attempts to hide its actions, a full accounting would

   have obvious salutary effects—as well as serving as a powerful deterrent to other agencies similarly

   tempted to pull equivalent fast ones. And such disclosure is virtually certain to reveal evidence either

   supporting the States on the non-merits TRO/PI factors and/or provide evidence of Defendants’

   unclean hands. It therefore should be ordered—which DHS barely opposes with any specificity.

   IV.     The Remaining TRO/Preliminary Injunction Factors Support The States
           Finally, DHS’s arguments about irreparable harm and the balance of harms/public interest are

   specious. While DHS contends (at 16) that the States are relying on “rank speculation,” they ignore

   their own admissions that they are engaged in the very conduct that the States have challenged.

           DHS’s position is also deeply inequitable. DHS’s consciously hid its unlawful early termination

   from the Plaintiff States, this Court, and the public—which necessarily has frustrated the States’ ability

   to make their case. They have nonetheless done so more than adequately here (particularly as now

   supplemented by DHS’s admissions).

           The States’ preliminary injunction motion set forth how complete implementation of the

   Termination Order will cause them catastrophic irreparable harms—as even many Democratic

   Senators have recognized. Partial implementation would thus necessarily cause them irreparable harm

   sufficient to support a TRO. Moreover, DHS’s intentional concealment amply warrants drawing an

   adverse inference as the States’ harms: if the evidence was so clear that DHS’s partial-repeal policy

   was harmless or beneficial, DHS presumably would not have been so intent on hiding it.

           So too do the balance of harms and public interest factors favor the requested TRO, just as

   they do the States’ request for a preliminary injunction. Indeed, this is hardly the first time that federal


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   courts have encountered unlawful CDC orders relating to the Covid-19 pandemic. As in Alabama

   Ass’n of Realtors v. HHS, “our system does not permit agencies to act unlawfully even in pursuit of

   desirable ends,” and a TRO/PI is therefore in the public interest. 141 S. Ct. 2485, 2490 (2021).

          Moreover, to the extent that DHS now contends (at 17) that its “activities are driven by the

   law enforcement purpose of improving DHS’s deterrent capabilities and readying for the return to

   full immigration processing,” one might fairly ask: why would they need to conceal that? If DHS’s

   actions are as unimpeachable as the agency now belatedly contends—after having been caught red-

   handed—why didn’t they disclose them publicly earlier? That conscious suppression of information

   is even more telling as DHS could not possibly have believed that the Plaintiff States and this Court

   would have been disinterested in learning about its early partial termination.

          As is often the case in life, DHS’s prior “silence is most eloquent.” Edmonds v. Compagnie

   Generale Transatlantique, 443 U.S. 256, 266–67 (1979). DHS’s previous, intentional concealment of its

   actions belies its own apparent internal belief that its actions are indefensible—and hence must be

   hidden rather than defended publicly and in court. All of DHS’s instant arguments would have had

   greater plausibility if DHS had disclosed its actions and defended them contemporaneously. That

   DHS’s defense is now offered only belatedly as a fallback to its original plan of hiding its actions

   entirely makes plain the enormous grains of salts with which all of the agency’s instant arguments

   should now be taken. DHS’s Plan B should fare no better than its Plan A.

                                              CONCLUSION

          The States’ request for a temporary restraining order and to compel production of information

   should be granted.




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   Dated: April 25, 2022                          Respectfully submitted,
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